       Case 20-12121-mdc       Doc 15 Filed 05/06/20 Entered 05/07/20 00:42:35                Desc Imaged
                                    Certificate of Notice Page 1 of 4
                                     United States Bankruptcy Court
                                   Eastern District of Pennsylvania
In re:                                                                                 Case No. 20-12121-mdc
Truc T. Le                                                                             Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0313-2          User: Keith                  Page 1 of 2                   Date Rcvd: May 04, 2020
                              Form ID: 309I                Total Noticed: 35


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 06, 2020.
db             +Truc T. Le,   1105 Wedgewood Road,    Flourtown, PA 19031-2125
14497479       +American Express Correspondence Address,     200 Vesey St.,    Brookfield Place, 50th Floor,
                 New York, NY 10285-1000
14500218       +American Express National Bank, AENB,     c/o Zwicker and Associates, P.C.,
                 Attorneys/Agents for Creditor,    P.O. 9043,    Andover, MA 01810-0943
14497481       +Bank of America Credit Card,    P.O. Box 17234,    Wilmington, DE 19850-7234
14497485       +Citibank,   388 Greenwich Street,    New York, NY 10013-2362
14497486        Discover Financial Services Correspondence,     P.O. Box 30943,    Salt Lake City, UT 84130-0943
14497495        Equifax Credit Information Services, Inc,     P.O. Box 740256,    Atlanta, GA 30374-0256
14497496       +Experian,   P.O. Box 9701,    Allen, TX 75013-9701
14497497        Experian Information Systems,    Attn: Dispute Department,     P.O. Box 2002,
                 Allen, TX 75013-2002
14497489       +Green Sky Dept, 3025,    P.O. Box 2153,    Birmingham, AL 35287-0002
14497502        H.A. Berkheimer Tax Administrator,    Bankruptcy Notices,    50 North 7th Street,
                 Bangor, PA 18013-1798
14497498       +Innovis Data Solutions,    250 E. Town St.,    Columbus, OH 43215-4631
14497503       +Montgomery County Tax Claim Bureau,     P.O. Box 190,   Norritown PA 19404-0190
14497504       +Office of the Prothonotary,    Montgomery County Courthouse,     PO Box 311,
                 Norristown, PA 19404-0311
14497501       +Transunion Corporation,    2 Baldwinm Place,    P.O. Box 1000,    Chester, PA 19016-1000
14497491       +Wells Fargo Home Mortgage,    7001 Westown Parkway,    West Des Moines, IA 50266-2511

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: mwglaw@msn.com May 05 2020 03:19:30        MICHAEL W. GALLAGHER,
                 401 West Johnson Highway,    Suite 4,    East Norriton, PA 19401
tr             +E-mail/Text: bncnotice@ph13trustee.com May 05 2020 03:20:12         WILLIAM C. MILLER, Esq.,
                 Chapter 13 Trustee,    P.O. Box 1229,    Philadelphia, PA 19105-1229
smg             E-mail/Text: megan.harper@phila.gov May 05 2020 03:20:06        City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,     1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us May 05 2020 03:19:49
                 Pennsylvania Department of Revenue,     Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov May 05 2020 03:19:58         U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,    Room 1250,    615 Chestnut Street,     Philadelphia, PA 19106-4404
ust            +E-mail/Text: ustpregion03.ph.ecf@usdoj.gov May 05 2020 03:19:52         United States Trustee,
                 Office of the U.S. Trustee,    200 Chestnut Street,     Suite 502,    Philadelphia, PA 19106-2908
14497478        EDI: AMEREXPR.COM May 05 2020 07:08:00       American Express,    P.O. Box 1270,
                 Newark, NJ 07101-1270
14497480        EDI: BANKAMER.COM May 05 2020 07:08:00       Bank of America Correspondence,     P.O. Box 982234,
                 El Paso, TX 79998-2234
14497482       +EDI: BANKAMER2.COM May 05 2020 07:08:00       Bank of America, N.A.,     100 North Tryon St.,
                 Charlotte, NC 28202-4000
14497483       +EDI: CITICORP.COM May 05 2020 07:08:00       Citi Card,    P.O. Box 70166,
                 Philadelphia, PA 19176-0166
14497484       +EDI: CITICORP.COM May 05 2020 07:08:00       Citibank Customer Service,     P.O. Box 6500,
                 Sioux Falls, SD 57117-6500
14497487        EDI: DISCOVER.COM May 05 2020 07:08:00       Discover Financial Services,     2500 Lake Cook Road,
                 Riverwoods, IL 60015
14497488       +EDI: DISCOVER.COM May 05 2020 07:08:00       Discover,    P.O. Box 6103,
                 Carol Stream, IL 60197-6103
14497499        EDI: IRS.COM May 05 2020 07:08:00       Internal Revenue Service,
                 Centralized Insolvency Operation,     P.O. Box 7346,    Philadelphia, PA 19101-7346
14497500        E-mail/Text: RVSVCBICNOTICE1@state.pa.us May 05 2020 03:19:49         PA Department Of Revenue,
                 Attn: Bankruptcy Division,    P.O. Box 280946,    Harrisburg, PA 17128-0946
14497490       +EDI: STF1.COM May 05 2020 07:08:00       SunTrust Bank,    303 Peachtree Street N.E.,
                 Atlanta, GA 30308-3201
14497494       +EDI: WFFC.COM May 05 2020 07:08:00       Wells Fargo,    420 Montgomery Street,
                 San Francisco, CA 94104-1298
14497492        EDI: WFFC.COM May 05 2020 07:08:00       Wells Fargo Home Mortgage,     P.O. Box 10335,
                 Des Moines, IA 50306-0335
14497493       +EDI: WFFC.COM May 05 2020 07:08:00       Wells Fargo Home Mortgage,     P.O. Box 14411,
                 Des Moines, IA 50306-3411
                                                                                                TOTAL: 19

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty*           +WILLIAM C. MILLER, Esq.,   Chapter 13 Trustee,   P.O. Box 1229,     Philadelphia, PA 19105-1229
                                                                                              TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: 309I                      Total Noticed: 35


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 06, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 4, 2020 at the address(es) listed below:
              MICHAEL W. GALLAGHER    on behalf of Debtor Truc T. Le mwglaw@msn.com, mwglaw1@verizon.net
              THOMAS YOUNG.HAE SONG    on behalf of Creditor   Wells Fargo Bank, N.A. paeb@fedphe.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
              WILLIAM C. MILLER, Esq.    on behalf of Trustee WILLIAM C. MILLER, Esq. ecfemails@ph13trustee.com,
               philaecf@gmail.com
              WILLIAM C. MILLER, Esq.    ecfemails@ph13trustee.com, philaecf@gmail.com
                                                                                             TOTAL: 5
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Information to identify the case:
Debtor 1                 Truc T. Le                                                             Social Security number or ITIN    xxx−xx−0668

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Eastern District of Pennsylvania
                                                                                                Date case filed for chapter 13 4/27/20
Case number:          20−12121−mdc



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Truc T. Le

2. All other names used in the
   last 8 years
                                              1105 Wedgewood Road
3. Address                                    Flourtown, PA 19031
                                              MICHAEL W. GALLAGHER                                          Contact phone (484)679−1488
4. Debtor's  attorney
   Name and address
                                              401 West Johnson Highway
                                              Suite 4                                                       Email: mwglaw@msn.com
                                              East Norriton, PA 19401

5. Bankruptcy trustee                         WILLIAM C. MILLER, Esq.                                       Contact phone 215−627−1377
     Name and address                         Chapter 13 Trustee
                                              P.O. Box 1229                                                 Email: ecfemails@ph13trustee.com
                                              Philadelphia, PA 19105

6. Bankruptcy clerk's office                                                                                Hours open:
     Documents in this case may be filed                                                                    Philadelphia Office −− 8:30 A.M. to 5:00 P.M;
     at this address.                         900 Market Street                                             Reading Office −− 8:00 A.M. to 4:30 P.M.
     You may inspect all records filed in     Suite 400
     this case at this office or online at    Philadelphia, PA 19107                                        Contact phone (215)408−2800
      www.pacer.gov.
                                                                                                            Date: 5/4/20

                                                                                                                  For more information, see page 2




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Debtor Truc T. Le                                                                                                                          Case number 20−12121−mdc

7. Meeting of creditors                                                                                                 Location:
   Debtors must attend the meeting to     June 3, 2020 at 10:30 AM                                                      The Mtg of Creditors will be conducted,
   be questioned under oath. In a joint                                                                                 via telephonic conference.All interested,
   case, both spouses must attend.                                                                                      parties shall contact the Trustee, for
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If                 connection details
   required to do so.                     so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                      Filing deadline: 8/2/20
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                            Filing deadline: 7/6/20
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                             Filing deadline: 10/24/20
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                              Filing deadline:       30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                    conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                     meeting of creditors
                                           may file an objection.

9. Filing of plan                         The debtor has filed a plan.This plan proposes payment to the trustee of $108.10 per month for 36 months. The plan is enclosed.
                                          The hearing on confirmation will be held on:
                                          7/2/20 at 09:30 AM , Location: Courtroom #2, 900 Market Street, Philadelphia, PA 19107
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                           does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




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